Case 1:23-cv-00181-LEW Document 29 Filed 01/02/24 Page 1 of 5                    PageID #: 154




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

U.S. Bank Trust National Association, not in
its individual capacity, but solely as owner
trustee of BRAVO Residential Funding
Trust 2021-C

               Plaintiff
                                                 Case No. 1:23-cv-00181-LEW
                      vs.

Charles M. Werenko


            Defendant
Penobscot County Federal Credit Union

               Party-In-Interest


                      JUDGMENT OF FORECLOSURE AND SALE
                          1876 Hudson Road, Hudson, Maine
                                Book: 11384, Page 102


       This matter came before the Court for a testimonial hearing on Plaintiff's Motion for

Default Judgment on December 15, 2023. Plaintiff, U.S. Bank Trust National Association, not in

its individual capacity, but solely as owner trustee of BRAVO Residential Funding Trust 2021-C,

was present and represented by Reneau J. Longoria, Esq. Defendant, Charles M. Werenko, did

not appear; Party-In-Interest, Penobscot County Federal Credit Union did not appear.

       All persons interested having been duly notified in accordance with the law, and after

hearing, the Plaintiff's Motion for Default Judgment is GRANTED. Count II - Breach of Note,

Count III - Breach of Contract, Money Had and Received, Count IV - Unjust Enrichment are

hereby DISMISSED without prejudice at the request of the Plaintiff. JUDGMENT on Count I -

Foreclosure and Sale is hereby ENTERED as follows:
Case 1:23-cv-00181-LEW Document 29 Filed 01/02/24 Page 2 of 5                   PageID #: 155




     1. If the Defendant or his/her heirs or assigns pay U.S. Bank Trust National Association,

         not in its individual capacity, but solely as owner trustee of BRAVO Residential

         Funding Trust 2021-C (“U.S. Bank”) the amount adjudged due and owing

         ($140,550.73) within 90 days of the date of the Judgment, as that time period is

         calculated in accordance with 14 M.R.S. § 6322, U.S. Bank shall forthwith discharge

         the Mortgage and file a dismissal of this action on the ECF Docket. The following is

         a breakdown of the amount due and owing:

                    Description                               Amount
      Principal Balance                                                 $125,394.19
      Interest                                                            $2,677.40
      Unpaid Late Charges                                                    $63.84
      Total Advances                                                      $5,033.03
      Escrow Advance                                                      $7,382.27
      Grand Total                                                       $140,550.73

     2. If the Defendant or his/her heirs or assigns do not pay U.S. Bank the amount

         adjudged due and owing ($140,550.73) within 90 days of the judgment, as that time

         period is calculated in accordance with 14 M.R.S. § 6322, his/her remaining rights to

         possession of the Hudson Property shall terminate, and U.S. Bank shall conduct a

         public sale of the Hudson Property in accordance with 14 M.R.S. § 6323, disbursing

         the proceeds first to itself in the amount of $140,550.73 after deducting the expenses

         of the sale, with any surplus to be disbursed pursuant to Paragraph 5 of this Judgment,

         and in accordance with 14 M.R.S. § 6324. U.S. Bank may not seek a deficiency

         judgment against the Defendant pursuant to the Plaintiff's waiver of deficiency at

         trial.

     3. In the event that the Defendant, and anyone occupying the premises, do not vacate the

         property upon termination of his/her right to possession, U.S. Bank may reopen this




                                              2
Case 1:23-cv-00181-LEW Document 29 Filed 01/02/24 Page 3 of 5                    PageID #: 156




         matter to seek a Writ of Assistance and/or Writ of Possession to be served by the U.S.

         Marshals Service pursuant to Federal Rule of Civil Procedure 4.1(a) consistent with

         this Judgment.

     4. Pursuant to 14 M.R.S. § 2401(3)(F), the Clerk, if requested, shall sign a certification

         after the appeal period has expired, certifying that the applicable period has expired

         without action or that the final judgment has been entered following appeal.

     5   The amount due and owing is $140,550.73.

     6   The priority of interests is as follows:

             ● U.S. Bank Trust National Association, not in its individual capacity, but solely

             as owner trustee of BRAVO Residential Funding Trust 2021-C has first priority,

             in the amount of $140,550.73, pursuant to the subject Note and Mortgage.

             ● Penobscot County Federal Credit Union who has been defaulted, has the second

             priority behind the Plaintiff pursuant to a Writ of Execution dated January 25,

             2022, in the amount of $2,852.83, and recorded in the Penobscot County Registry

             of Deeds in Book 16370, Page 53.

             ● Charles M. Werenko has the third priority behind the Plaintiff.

     7. The prejudgment interest rate is 1.00000%, see 14 M.R.S. § 1602-B, and the post-

         judgment interest rate is 10.69% pursuant to 14 M.R.S. § 1602-C (West 2022) (The

         one year United States Treasury bill rate is the weekly average one-year constant

         maturity Treasury yield, as published by the Board of Governors of the Federal

         Reserve System, for the last full week of the calendar year immediately prior to the

         year in which post-judgment interest begins to accrue – December 2022, 4.69%, plus

         6% for a total post-judgment interest rate of 10.69%).




                                                3
Case 1:23-cv-00181-LEW Document 29 Filed 01/02/24 Page 4 of 5                   PageID #: 157




     8. The following information is included in this Judgment pursuant to 14 M.R.S. §

        2401(3):


                          PARTIES                               COUNSEL
PLAINTIFF                 U.S. Bank Trust National              Reneau J. Longoria, Esq.
                          Association, not in its               Doonan, Graves & Longoria, LLC
                          individual capacity, but solely       100 Cummings Center
                          as owner trustee of BRAVO             Suite 303C
                          Residential Funding Trust             Beverly, MA 01915
                          2021-C
                          3217 S. Decker Lake Drive
                          Salt Lake City, UT 84119
DEFENDANT
                          Charles M. Werenko                    Pro Se
                          1876 Hudson Road
                          Hudson, ME 04449

PARTY-IN-INTEREST
                          Penobscot County Federal              Pro Se
                          Credit Union
                          205 Main St
                          PO Box 424
                          Old Town , ME 04468




        a) The docket number of this case is No. 1:23-cv-00181-LEW.

        b) All parties to these proceedings received notice of the proceedings in accordance

            with the applicable provisions of the Federal Rules of Civil Procedure.

        c) A description of the real estate involved, 1876 Hudson Road, Hudson, ME 04449,

            is set forth in Exhibit A to the Judgment herein.

        d) The street address of the real estate involved is 1876 Hudson Road, Hudson, ME

            04449. The Mortgage was executed by the Defendant, Charles M. Werenko on

            April 5, 2008. The book and page number of the Mortgage in the Penobscot




                                              4
Case 1:23-cv-00181-LEW Document 29 Filed 01/02/24 Page 5 of 5                 PageID #: 158




           County Registry of Deeds is Book 11384, Page 102.

        e) This judgment shall not create any personal liability on the part of the Defendant

           but shall act solely as an in rem judgment against the property, 1876 Hudson

           Road, Hudson, ME 04449.

        SO ORDERED.

        Dated this 2nd day of January, 2024.

                                           /s/ Lance E. Walker
                                           UNITED STATES DISTRICT JUDGE




                                               5
